Case 2:10-md-02179-CJB-DPC Document 3602-1 Filed 08/08/11 Page 1of1

From: Hafle, Mark E

Sent: Wed Apr 14 23:09:46 2010
To: Miller, Richard A

Subject: RE: Macondo APB
Importance: Normal

Thanks Rich. This has been a crazy well for sure.

Mark

From: Miller, Richard A

Sent: Wednesday, April 14, 2010 6:03 PM

To: Morel, Brian P -
Cc: Hafle, Mark E

Subject: RE: Macondo APB

We have flipped design parameters around to the point that | got nervous. | did a rough update of both
my disk calculations and my WellCat model. All looks fine.

If we run the 9-7/8" x 7" as a long string, then the design resembles the original configuration, at least
from an APB standpoint. The outward-acting 16" rupture disks mitigate 9-7/8" collapse loads due to B

annulus APB. | do not have the final disk depth, so | guessed it is around 9,500".

if the 9-7/8" x 7" is run as a liner (per your schematic), then there is a risk that a trapped annulus forms
between the 7" and 9-7/8" liners. The WellCat model predicts an incremental 2,350 psi APB in that
annulus. To keep the 7" from collapsing, the pressure inside the 7" at 17,157' TVD needs to be 4,800 psi
or greater. Assuming that the production packer is set above this depth, then the 4,800 psi could dictate
a reservoir abandonment pressure limit. We can hash this out in the completion phase, but you may want
to alert completions of that possible issue. ,

Let me know if you have questions. I'll be in Westlake Thursday morning and have an early afternoon
flight to catch.
Rich

From: Morel, Brian P

Sent: Wednesday, April 14, 2010 1:31 PM

To: Miller, Richard A ie 3
Cc: Hafle, Mark E

Subject: Macondo APB

Rich,

There is a chance we could run a production liner on Macondo instead of the planned long string. As this
does not change much for APB based on the original design assumptions of a trapped annular, | don't
see any major effects, but wanted to confirm | am not missing something. Attached is the proposed
schematic, please let me know if you have any questions. We could be running it in 2-3 days, so need a
relative quick response. Sorry for the late notice, this has been nightmare well which has everyone all

over the place. ——
Ski *
Thanks
ja

CON67
